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                                         April 21, 2023

VIACM/ECF
Hon. Michael A. Hammer, U.S.M.J.
Martin Luther King Building
& U.S. Courthouse
50 Walnut Street Room 4015
MLK2C
Newark, NJ 07101

Re:     Emerson Redevelopers Urban Renewal, LLC v. Borough ofEmerson, et al.
        Docket No.: 2:20-cv-04728-MCA-MAH

Dear Judge Hammer,

        We represent Plaintiffs and write jointly with Defendants pursuant to the Court's Order to
submit an amended schedule for the remainder of discovery on or before April 21, 2023. The
parties propose the following schedule:

                     Event                                        Proposed Date
 Conclusion of Fact Discoverv                                      Mav 22, 2023
 Deadline for expert reports on any issue for                      June 30, 2023
 which the party bears a burden of proof
 Responsive expert reports                                        August 7, 2023
 Expert depositions                                              September 7, 2023

        If this schedule meets with Your Honor's approval, the parties request that the Court "so
order" this letter.

                                                                 SO ORDERED
                                                                   s/Michael A. Hammer
                                                                 Michael A. Hammer, U.S.M.1.

                                                                 Date:
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       We thank Your Honor for your courtesies in this matter.

                                                          Respectfully submitted,

                                                          s/Stephen M. Klein
                                                          Stephen M. Klein
All counsel of record ( via CM/ECF)
